Case 1:16-cv-20387-CMA Document 73 Entered on FLSD Docket 02/13/2020 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 16-20387-CIV-ALTONAGA/Louis

  JOSEPH PETER CLARKE,

         Movant,
  vs.

  UNITED STATES OF AMERICA,

        Respondent.
  _______________________________/

                                               ORDER

         THIS CAUSE came before the Court sua sponte.             In its Response to Movant’s

  Memorandum of Law [ECF No. 71], the Government agrees the Court should grant the Motion to

  Vacate Convictions and Sentence [ECF No. 67] and conduct a resentencing, guided by the factors

  in 18 U.S.C. section 3553. In his Reply [ECF No. 72], Movant concurs and requests the Court

  order the preparation of a new presentence investigation report and set his criminal case for a

  resentencing hearing. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion to Vacate Convictions and Sentence

  [ECF No. 67] is GRANTED. Final judgment in favor of Movant will be entered by separate

  order. An order will be entered separately in 13-20334-Cr setting a re-sentencing hearing. The

  Clerk is instructed to mark this case as CLOSED.

         DONE AND ORDERED in Miami, Florida, this 13th day of February, 2020.



                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
